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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

                            CASE NO. 3:20-CR-86-TJC-JBT

UNITED STATES OF AMERICA,

               Plaintiff,

v.

AARON DURALL, et al.

          Defendants.
___________________________________/

  UNITED HEALTHCARE, INC.’S MOTION FOR ADMISSION PRO HAC
     VICE AND WRITTEN DESIGNATION AND CONSENT TO ACT

         Pursuant to Rule 2.02 of the Local Rules for the United States District Court

for the Middle District of Florida, Non-Party, United HealthCare, Inc. (“United”)

moves this Court for an order allowing Jonathan Wilson to appear in this Court as

counsel on behalf of United in the above-styled lawsuit. In support of this Motion,

United states as follows:

         1.    Mr. Wilson is the Deputy General Counsel employed to represent the

interests of United.

         2.    Mr. Wilson is neither admitted to practice in the United States District

Court for the Middle District of Florida nor a member of the Florida Bar.




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         3.    Mr. Wilson is a member in good standing and admitted to practice in

the United States District Court for the District of Minnesota and all courts of the

State of Minnesota.

         4.    Mr. Wilson is familiar with, and will be governed by, the Local Rules

of the United States District Court for the Middle District of Florida, including Rules

2.01(d), 2.02, and Rule 2.04 thereof. Mr. Wilson is familiar with, and will be

governed by, the Code of Professional Responsibility and the other ethical

limitations or requirements governing the professional behavior of members of the

Florida Bar.

         5.    Mr. Wilson has not been admitted pro hac vice in any other matters in

state or federal court in Florida within the last thirty-six months.

         6.    As such, Mr. Wilson has not abused the privilege of special admission

by maintaining a regular law practice in Florida.

         7.    Mr. Wilson designates Carmen Ortega-Rivero and the law firm of

Akerman LLP, 98 Southeast Seventh Street, Suite 1100, Miami, Florida 33301,

carmen.ortega-rivero@akerman.com, as the lawyer and law firm upon whom all

notices and papers may be served and who will be responsible for the progress of

the case, including the trial in default of the non-resident attorneys. Carmen Ortega-

Rivero is a member in good standing of the Florida Bar and the United States District



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Court for the Middle District of Florida and maintains an office in this state for the

practice of law.

         8.    Through her signature below, Carmen Ortega-Rivero of the law firm of

Akerman LLP hereby consents to such designation and the terms of this Motion.

         9.    Pursuant to Rule 2.02(a), Local Rules, United States District Court,

Middle District of Florida, Carmen Ortega-Rivero certifies that Mr. Wilson has

complied with the fee requirements of Rule 2.01(c) and will complete e-filing

registration in accordance with Rule 2.01(c) of the Local Rules of the United States

District Court for the Middle District of Florida.

         WHEREFORE, Non-Party, United HealthCare, Inc., respectfully requests this

Court enter an order admitting Jonathan Wilson to practice before this Court pro hac

vice for all purposes relating to this matter.

                          RULE 3.01(G) CERTIFICATION

         Pursuant to Local Rule 3.01(g), Local Rules, United States District Court for

the Middle District of Florida, counsel for United conferred with counsel for the

government, who do not oppose this Motion.




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Date: May 6, 2022                   Respectfully submitted,

                                    AKERMAN LLP

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